     2:17-cv-01792-RMG         Date Filed 07/07/17       Entry Number 1       Page 1 of 14




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

                                           )
Matthew Heath,                             )         Civil Action No.    2:17-cv-1792-PMD
                                           )
                         Plaintiff,        )
                                           )         COMPLAINT
        vs.                                )
                                           )         Jury Trial Requested
College of Charleston, Glenn F. McConnell, )
President of the College of Charleston,    )
and Matt Roberts, Director of Athletics,   )
both in their official and individual      )
capacities,                                )
                                           )
                         Defendants.       )
                                           )


                                       INTRODUCTION

   1. This action for injunctive relief, declaratory relief, and damages is brought pursuant to 42

       U.S.C. § 1983 (“Section 1983”).

                                JURISDICTION AND VENUE

   2. This action arises under the Constitution of the United States and laws of the United

       States, specifically 42 U.S.C. § 1983, and accordingly, this Court has jurisdiction

       pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343.

   3. This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C. §§ 2201 and

       2202 and Federal Rule of Civil Procedure 57.

   4. Venue is proper under 28 U.S.C. § 1391, because a substantial part of the events of

       omissions giving rise to the claims occurred in the District of South Carolina Charleston

       Division.




                                                1
  2:17-cv-01792-RMG          Date Filed 07/07/17       Entry Number 1        Page 2 of 14




                                         PARTIES

5. Plaintiff Matthew Heath is a citizen and resident of Berkeley County, South Carolina.

6. Defendant College of Charleston is a public university, established and existing under

   color of State law by the State of South Carolina. Its offices and principal place of

   business are located at 66 George Street, Charleston, South Carolina, 29424.

7. Defendant Glenn F. McConnell, is being sued for damages in his individual capacity and

   for declaratory and injunctive relief in his official capacity as President of College of

   Charleston.

8. Defendant Matthew Roberts is being sued for damages in his individual capacity and for

   declaratory and injunctive relief in his official capacity as the Director of Athletics at the

   College of Charleston. Defendant Roberts, as Athletic Director, was responsible for the

   management and supervision of Plaintiff Heath.

                                          FACTS

9. Plaintiff Heath was hired by the Defendants College of Charleston and Roberts in 2015 to

   fill the position of Head Coach of the College’s Intercollegiate Men’s Baseball Team

   (“the team”), after serving as an assistant “pitching coach” on the men’s baseball team.

10. The contract that Plaintiff entered into with the College of Charleston was set for a base

   term of five years, to be effective as of July 1, 2015 and to expire at the later of either: 1)

   June 22, 2020; or 2) the last game played by the Team during the 2019-2020 season.

11. Plaintiff’s contract with the College of Charleston provided for a base salary $150,000

   per season during the term of the agreement.

12. Throughout his two-year tenure with the College as head baseball coach, Plaintiff Heath

   performed his duties in an exemplary manner, both in ensuring the athletic performance



                                              2
  2:17-cv-01792-RMG         Date Filed 07/07/17        Entry Number 1        Page 3 of 14




   of the Team to the best of his ability and taking a vested interest in the lives and character

   of the athletes on his team. As a collegiate coach, Plaintiff strove to instill personal

   accountability and discipline in his players that would extend beyond their tenure on the

   Team and into their future endeavors with family, employment, and other relationships.

13. The Contract entered into by Plaintiff and the College of Charleston provides that

   Plaintiff may be terminated by the College prior to the expiration of the base term of the

   contract for Plaintiff’s incapacity or death or “Just Cause.” The Contract further provides

   that should the College terminate Plaintiff “Without Cause,” Plaintiff would be entitled to

   an amount of liquidated damages totaling the amount of base salary remaining on the

   Contract. By virtue of his term contract terminable only for cause, Plaintiff has a

   recognized property interest in his continued employment that may not be denied to the

   Plaintiff without due process of law.

14. The employment agreement entered into by the parties states that “Just Cause” shall be

   determined by the President of the College, with the advice of the Director of Athletics.

   “Just Cause” is defined in the contract as inter alia: 1). a significant or deliberate

   violation of the Contract or of his job responsibilities or refusal/unwillingness to perform

   these duties in a good faith and diligent, professional manner; 2). committing or

   knowingly permitting by someone under his supervision and direction a significant or

   repetitive or deliberate violation of any law, rule, regulation, constitutional provision,

   policy, bylaw or directive of the College, the Colonial Athletic Conference, or a Level I

   or II violation of the NCAA bylaws; 3) adverse physical contact initiated by Plaintiff with

   a students, employee or guest; or 4) any other cause adequate to sustain the termination of

   a College staff employee under the College’s policies.



                                              3
  2:17-cv-01792-RMG         Date Filed 07/07/17       Entry Number 1        Page 4 of 14




15. By June of 2017, Plaintiff became aware that the College’s Athletic Department had

   authorized an attorney from an outside law firm, David Dubberly, to conduct an

   investigation into Plaintiff’s conduct as a head coach. Defendant Roberts suspended

   Plaintiff’s employment without pay as permitted under the employment contract pending

   the outcome of the investigation and Roberts’s recommendation.

16. On June 14, 2017, Plaintiff received a document entitled “Notice of Initiation of

   Recommendation for Termination Action for Just Cause,” authored by Defendant

   Roberts. This document notified the Plaintiff that Defendant Roberts had initiated a

   recommendation to the President of the College to terminate Plaintiff’s employment

   contract for “Just Cause.” The document apprised Plaintiff, in vague and conclusory

   fashion, without dates or names of witnesses, that the Athletic Department’s investigation

   into his conduct had revealed several instances of misconduct which allegedly constituted

   violations of the contract and justified Plaintiff’s termination for cause:

       a. The Notice alleged that prior to his entry into the Contract and while he was a

           pitching coach, Plaintiff convened some of the pitchers in the third base dugout.

           The Notice alleged that Coach Heath pulled a pitcher who struggled during the

           game “up by his neck from the bench where he was sitting, and yelled at him that

           he had been F---ed by opposing hitters.” The Notice alleged that as Plaintiff was

           yelling this, Plaintiff repeatedly thrust the mid-section of his body against the

           pitcher and said that is what the hitters were doing to the pitcher.

       b. Sometime after a baseball game against Elon University, Plaintiff “screamed at

           the pitchers” on a charter bus and kicked a cooler;




                                             4
2:17-cv-01792-RMG        Date Filed 07/07/17      Entry Number 1        Page 5 of 14




    c. The Notice further alleged that Plaintiff required players to run excessively,

       practice on Mondays (the Team’s required day off or “off-day”), perform drills

       such as “wheelbarrowing,” and “bear crawls,” and that Plaintiff frequently used

       inappropriate and abusive language laced with profanity towards his players;

    d. The Notice alleged that Plaintiff talked about and made fun of players’ health

       issues in front of other players;

    e. Finally, the Notice alleged that some unidentifiable witnesses had reported that

       Plaintiff’s coaching style created a “toxic program” that players did not want to be

       a part of.

    f. These interviews relied upon by the Defendants were not witness statements, were

       not signed by the individuals interviewed, were not taken under oath, and did not

       identify the alleged witnesses.

    g. Upon learning of the allegations leveled against him and the investigation that

       was being conducted, the Plaintiff received and continues to receive statements

       from numerous current and former players and coaches that the allegations of

       misconduct are completely untrue and that many of those interviewed by the third

       party investigator felt pressured to convey Plaintiff in a negative light and that the

       investigator was completely unreceptive when a player/coach attempted to defend

       Plaintiff.

    h. Upon information and belief, the investigation by instituted by Defendant Roberts

       was designed for one purpose only: to end the tenure of Plaintiff as head coach in

       bad faith, no matter the cost–not to uncover the veracity of the allegations of

       misconduct.



                                           5
  2:17-cv-01792-RMG           Date Filed 07/07/17     Entry Number 1        Page 6 of 14




17. This document, ostensibly entitled a “Notice,” failed to identify any of the alleged

   witnesses, did not provide the dates, times, or locations for any of the alleged violations

   of Plaintiff’s contract.

18. The Plaintiff avers that these allegations of misconduct contained in the “Notice” are

   utterly without merit, false, and defamatory. Plaintiff has been denied an opportunity to

   respond to these allegations and the opportunity to have these issues be heard before an

   impartial decision maker.

19. The “Notice” informed Plaintiff of the termination procedures that were available to him

   to seek a review of the investigation’s findings and to respond after his receipt of this

   document, pursuant to his employment contract. These termination procedures were

   minimal, constitutionally deficient, and consisted only of the following:

       a. Plaintiff was required to submit his response to this “Notice” that identifies

           persons/documents that may be probative to the investigation’s findings within

           five calendar days, or be deemed to have been terminated for cause.

       b. Plaintiff sent his response to the “Notice” on June 19, 2017 to Defendant Roberts.

           In this response, Plaintiff denied that he had violated the relevant provisions of his

           contract, that he had ever verbally or physically assaulted any player on the team,

           took issue with the conclusory and contradictory statements of unidentified

           witnesses and denied that he had violated any of College’s bylaws, policies, codes

           or conduct, or NCAA rules. Plaintiff’s response also denied each of the

           investigation’s factual findings and provided Defendant Roberts with numerous

           witnesses to corroborate his denial of each incident. Upon information and belief,

           the majority of these witnesses Plaintiff provided in this response were never



                                             6
2:17-cv-01792-RMG          Date Filed 07/07/17    Entry Number 1       Page 7 of 14




       contacted to corroborate or deny the occurrence of these incidents, including two

       members of the coaching staff under Plaintiff’s supervision and the Baseball

       Athletic Trainer.

    c. According to the language of the employment contract, after Plaintiff submitted

       such a response, the Director of Athletics would have ten days to consider the

       response and to submit a recommended final decision to the President of the

       College. After the submission of such a recommended final decision, Plaintiff was

       afforded three days to submit a written objection to both the President and the

       Director of Athletics, Roberts. After the submission of such an objection by the

       Plaintiff, under the terms of the contract, the President was afforded the power to

       render a decision on Plaintiff’s termination, which would constitute the final

       action of the College of Charleston on the matter.

    d. Upon information and belief, the constitutionally deficient procedures outlined

       above for terminating the Plaintiff under the contract were created by the

       Defendants with the specific intent to deprive Plaintiff of his procedural due

       process rights.

    e. On June 23, Defendant Roberts submitted to President McConnell his final

       recommendation, that the Plaintiff be terminated for “Just Cause,” again relying

       upon the findings of the earlier investigation.

    f. On June 28, Plaintiff submitted to Defendants McConnell and Roberts his written

       objections to Roberts’s Final Recommendation for Termination. In this objection,

       Plaintiff again pointed out the biased nature of the investigation, asked that he be




                                         7
  2:17-cv-01792-RMG           Date Filed 07/07/17       Entry Number 1        Page 8 of 14




            afforded the opportunity to present his evidence and witnesses at a hearing, or at

            the very least a face-to-face meeting with the President.

       g. No other opportunity was afforded to Plaintiff to refute the investigation’s

            findings or allegations made about his conduct. The only “procedure” that

            Plaintiff is afforded before his contract can be terminated Plaintiff is the ability to

            object and response twice in writing. At no time was Plaintiff afforded the

            opportunity to go before an unbiased decision maker and be heard on the relevant

            issues before his contract would be terminated. His requests for even an informal

            type of pre-termination hearing have all been ignored.

       h.   Plaintiff was denied the opportunity to confront or cross-examine the alleged

            “witnesses” to the incidents described in the Athletic Department’s investigation.

       i. Plaintiff was not afforded the opportunity to participate in any kind of hearing,

            whether informal or otherwise before his termination.

       j. Plaintiff’s contract, as Defendant Roberts’s representations in his initial

            recommendation make clear, does not provide for any type of post-termination

            hearing. The President of the College retains the final say in the matter of

            Plaintiff’s termination and the President’s decision on the matter constitutes the

            final action of the College on the matter. Plaintiff’s contract of employment

            explicitly provides that these termination procedures supersede the termination

            processes otherwise available to College of Charleston employees.

20. On June 30, 2017, the Defendant McConnell submitted his written Final Decision to

   terminate Plaintiff’s contract for “Just Cause.” This decision constituted the final,

   unchallengeable action of the College of Charleston on this matter. No procedure of any



                                               8
  2:17-cv-01792-RMG          Date Filed 07/07/17       Entry Number 1        Page 9 of 14




   kind was available to Plaintiff to be heard on the issue of his termination after Defendant

   McConnell’s final decision to terminate Plaintiff.

21. The College of Charleston termination proceedings fail to provide even minimal due

   process to Plaintiff inasmuch as he was deprived of his right to either a full and fair pre-

   termination hearing before an impartial decision maker, and no post-termination hearing,

   or a summary pre-termination hearing followed by a full and fair post-termination

   hearing before an impartial decision maker and no constitutionally adequate safeguards

   are afforded to him by his employment agreement, the policies and procedures of the

   College of Charleston, state grievance procedures, or by the actions of Defendants.

22. The employment contract entered into by the Plaintiff and Defendant College of

   Charleston did not contain any waiver of his constitutional rights to due process, nor did

   Plaintiff agree to the waiver of such rights.

23. Plaintiff has a liberty interest in his reputation, esteem in the community, and in his future

   employment in collegiate athletics.

24. Plaintiff has a property interest in his continued employment with the College of

   Charleston based on his contract, policies, practices, and understandings of continued

   employment.

25. Where the College of Charleston’s termination procedure served to terminate Plaintiff’s

   contract, those procedures were required to meet the standards of procedural due process,

   however, as promulgated and practiced, these procedures failed to do so.

26. By submitting an uncorroborated and false report of misconduct, Defendants have placed

   a stigma on Plaintiff’s reputation.




                                              9
 2:17-cv-01792-RMG          Date Filed 07/07/17       Entry Number 1        Page 10 of 14




27. Defendants’ false reports of misconduct regarding Plaintiff have been published to the

   public at large, including news media outlets, and potential employers, causing great

   harm to Plaintiff’s reputation and esteem within the community.

28. Plaintiff’s right to due process, including a full and fair hearing before an impartial

   decision maker, is a clearly established right pursuant to Cleveland Board of Education v.

   Loudermill, 470 U.S. 532 (1985). Any reasonable official in the individual Defendants’

   positions would have understood that depriving Plaintiff to such a hearing violates this

   right.

29. Plaintiff’s right to substantive due process is a clearly established right. Any reasonable

   official in the Defendants’ positions would have understood that placing such a stigma on

   Plaintiff’s reputation and esteem in the community by publishing and disseminating false

   allegations of misconduct violates this clearly established right.

30. At all times referenced herein, the individual Defendants have acted individually and

   under color of state law.

31. At all times referenced herein, as evidenced by their conduct, the individual Defendants

   have acted maliciously, recklessly, in bad faith, and in callous disregard of Plaintiff’s

   constitutional rights.

32. The Defendants, at all times relevant, acted under color of State law, regulation or custom

   or usage of the State of South Carolina, have subjected and threaten to subject Plaintiff to

   the deprivation of rights and privileges secured him by the United States Constitution.

33. As a result of Defendants’ acts and omissions, Plaintiff has been proximately caused

   emotional distress, embarrassment, humiliation, loss of esteem in the community, and

   damage to his reputation.



                                             10
 2:17-cv-01792-RMG          Date Filed 07/07/17      Entry Number 1       Page 11 of 14




34. As a result of Defendants’ acts and omissions, Plaintiff has been proximately caused a

   loss of past and future income and losses associated with the loss of employment and

   income.

                          FOR A FIRST CAUSE OF ACTION
                               Procedural Due Process
                                  42 U.S.C. § 1983


35. The Plaintiff incorporates all preceding and subsequent paragraphs of this Complaint.

36. By the acts and practices alleged above, the Defendants have deprived Plaintiff of his

   procedural due process rights as guaranteed to him by the Fourteenth Amendment of the

   Constitution of the United States.

37. The Defendants failed to provide Plaintiff with any constitutionally adequate hearing

   before an impartial decision maker, notice, or an opportunity to be heard, thereby

   interfering with Plaintiff’s property right of continued employment, all under color of

   state law in violation of 42 U.S.C. § 1983.

38. Plaintiff is therefore entitled to compensatory damages for the loss of pay and benefits he

   has lost and will continue to lose, emotional distress, and punitive damages as a result of

   the Defendants’ willful and wanton actions pursuant to 42 U.S.C. § 1983 in an amount to

   be determined by a jury. The Plaintiff is additionally entitled to recovery, and, hereby

   does request recovery of all reasonable attorneys’ fees, costs, and expenses incurred in

   the bringing of this action pursuant to 42 U.S.C. § 1988.

                         FOR A SECOND CAUSE OF ACTION
                               Substantive Due Process
                                  42 U.S.C. § 1983

39. The Plaintiff incorporates all preceding and subsequent paragraphs of this Complaint.




                                            11
 2:17-cv-01792-RMG          Date Filed 07/07/17       Entry Number 1        Page 12 of 14




40. The Defendants, by the acts and omissions described above, have placed a stigma on

   Plaintiff’s good reputation within the community. The Defendants have caused the false

   and defamatory allegations contained in the investigation report to become disseminated

   to the public.

41. As a result of the Defendants actions and inactions, therefore, the Plaintiff has lost not

   just the opportunity to meaningfully defend himself against these allegations at a

   constitutionally sufficient hearing, Plaintiff’s ability to apply for employment as an

   athletic coach with other prospective employers has been severely hindered, if not

   eliminated entirely.

42. Plaintiff has requested such a “name clearing” hearing, but this request has been ignored

   and otherwise denied.

43. Accordingly, the Defendants have violated the Plaintiff’s due process rights in so far as

   the liberty interest the Plaintiff enjoys in his good name and reputation have been violated

   by the Defendants publication of false and stigmatizing charges against him, and their

   corresponding refusal to grant him a name clearing hearing before or after his

   termination.

44. The Plaintiff is therefore entitled to compensatory and punitive damages for the

   emotional distress caused by Defendant’s willful and wanton actions, for compensatory

   damages associated with the termination of his contract of employment without just

   cause, for reputational damages and loss of esteem in the community pursuant to 42

   U.S.C. § 1983 and reasonable attorneys’ fees, costs, and expenses pursuant to 42 U.S.C. §

   1988.




                                             12
 2:17-cv-01792-RMG          Date Filed 07/07/17       Entry Number 1        Page 13 of 14




                              FOR A THIRD CAUSE OF ACTION
                                (Declaratory and Injunctive Relief)
45. The Plaintiff incorporates all preceding and subsequent paragraphs of this Complaint.

46. As a result of the Defendants’ actions as described above, the Plaintiff is entitled to

   declaratory and injunctive relief from this Court to include: a) the Court’s declaratory

   judgment that the Defendants have violated Plaintiff’s due process rights in the

   termination of his contract of employment; b). a preliminary injunction requiring that

   Plaintiff be provided with a constitutionally sufficient post-termination hearing, to

   include a hearing before an impartial decision maker not associated with the Defendants

   or College of Charleston, the right to be represented by counsel, to call witnesses, present

   evidence, to cross-examine witnesses, and the full panoply of rights protected by the Due

   Process Clause of the Fourteenth Amendment of the United States Constitution.

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff prays that this Court:

           a. exercise jurisdiction over the parties and subject matter of this action;

           b. enter is declaratory judgment that the Defendants have violated Plaintiff’s due

               process rights as set out above;

           c. award Plaintiff compensatory and punitive damages;

           d. enter temporary, preliminary, and permanent injunctions which enjoin the

               Defendants from their continued violation of Plaintiff’s constitutional rights,

               and from failing to provide Plaintiff with a constitutionally sufficient hearing;

           e. award Plaintiff all reasonable attorneys’ fees, costs, and expenses incurred in

               the bringing and prosecution of this action;

           f. grant such other and further relief as is deemed just and proper.

                                             13
    2:17-cv-01792-RMG        Date Filed 07/07/17   Entry Number 1    Page 14 of 14




                                        GIBBS & HOLMES

                                        /s/ Allan R. Holmes
                                        Allan R. Holmes (Fed. ID 1925)
                                        E-mail: aholmes@gibbs-holmes.com
                                        Cheryl H. Ledbetter (Fed. ID 11446)
                                        Timothy O. Lewis (Fed. ID 9864)
                                        171 Church Street, Suite 110
                                        Telephone: 843-722-0033
                                        Fax: 843-722-0114
                                        ATTORNEYS FOR PLAINTIFF



July 7, 2017
Charleston, South Carolina




                                           14
